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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

FACTOR 2 MULTIMEDIA SYSTEMS, LLC,

              Plaintiff,

      v.                                           Case No. 6:24-cv-00362-XR

EARLY WARNING SERVICES, LLC;                       JURY TRIAL DEMANDED
BANK OF AMERICA CORPORATION.;
TRUIST FINANCIAL CORPORATION;
CAPITAL ONE FINANCIAL
CORPORATION; JPMORGAN CHASE &
CO.; THE PNC FINANCIAL SERVICES
GROUP, INC.; U.S. BANCORP; and
WELLS FARGO & COMPANY

              Defendants.


               UNOPPOSED MOTION FOR EXTENSION OF TIME FOR
                BANK OF AMERICA TO RESPOND TO COMPLAINT

       Defendant Bank of America Corporation, by and through its undersigned counsel,

respectfully moves this Court to extend the date by which to answer, move, or otherwise respond

to Plaintiff’s Complaint. Bank of America Corporation was served on August 19, 2024, making

its response due Monday, September 9, 2024.

       Bank of America Corporation respectfully requests that the deadline to answer or

otherwise respond to the Complaint be extended by forty-five (45) days to October 24, 2024.

Counsel for Bank of America Corporation conferred by email with Plaintiff’s counsel on August

28, 2024. Plaintiff’s counsel is not opposed to this Motion.

       Bank of America Corporation does not seek delay in this case and submits this request

so that justice may be done.




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DATED: August 30, 2024                Respectfully submitted,

                                     /s/ Heather E. Takahashi
                                     Heather E. Takahashi

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                                     District)
                                     Heather E. Takahashi (admitted to practice in
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                                     Attorneys for Defendant
                                     Bank of America Corporation




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                            CERTIFICATE OF CONFERENCE

       I certify that, as recited, I conferred by electronic mail on August 28, 2024, with

opposing counsel concerning this Motion. Opposing counsel Joseph J. Zito indicated that his

client was not opposed to the request for additional time.

                                                             /s/ Heather E. Takahashi
                                                             Heather E. Takahashi



                               CERTIFICATE OF SERVICE

       I certify that on August 30, 2024, a true and correct copy of the foregoing document was

served electronically, via ECF, on all counsel of record who are deemed to have consented to

such service under the Court’s local rules.


                                                             /s/ Heather E. Takahashi
                                                             Heather E. Takahashi




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